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                                                                 February 1,2016

VIA ECF
Honorable Cheryl L. Pollak
United States Magistrate Judge
United States District Court
 for the Eastern District of New York
225 CadmanPlazaBast
Brooklyn, New York 1120I

               Re     Martinez v. City of New York. et al.
                      l6-cv-007e (AMD) (cLP)

Your Honor:

     I am the Assistant Corporation Counsel in the Special Federal Litigation Division of the
New York City Law Department, assigned to represent defendant City in the above-referenced
matter. This office writes to respectftrlly request an enlargement of time from Monday February
1,2016 to and including Friday, April I ,2016, within which the City may answer or otherwise
respond to the Complaint. This is defendant's first such request. Plaintifls counsel, Baree N.
Fett, Esq., consents to the requested enlargement.

       In the complaint plaintiff Rosie Mafünez alleges that on January 22, 2015 she was
subject to use of unreasonable force by members of the New York City Police Department.
Plaintiff also asserts similar and related claims under State law,

       Plaintiff served the Complaint upon the City on or about January 11,2076, and the City's
deadline to answer is therefore on or about February 1,2076. It is our understanding that the
records of the underlying arrest may be sealed pursuant to New York Criminal Procedure Law
$ 160.50. Plaintiff also alleges physical injuries and therefore defendant City must also request
medical records. While defendant has received the proper releases from plaintiff, defendant City
must still receive the underlying documents from the relevant agencies, which include the police,
criminal court and District Attorney's Office as well as relevant medical providers, in order to
properly investigate the allegations of the Complaint and fulfill our obligations under Rule I I of
the Federal Rules of Civil Procedure.

       For the foregoing reasons, the City respectfully requests that the Court enlarge its time, to
answer or otherwise respond to the Complaint to and including April 1 ,2016.
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      Thank you for your consideration herein

                                                           y submitted,



                                                P        Johnson
                                                As istant C orpor atio n Couns e I
                                                     s

cc:   Baree N. Fett, Esq, (via ECF)             Special Federal Litigation Division
      Attorneyþr Plaintiff




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